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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   United States of America, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03010-APM

   v.                                                  HON. AMIT P. MEHTA
   Google LLC,

                                 Defendant.




   State of Colorado, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03715-APM

   v.                                                  HON. AMIT P. MEHTA
   Google LLC,

                                 Defendant.



                                       JOINT STATUS REPORT

         In accordance with the Court’s Minute Order dated August 31, 2021, the parties in United

  States v. Google LLC and State of Colorado v. Google LLC submit the following Joint Status

  Report summarizing the state of discovery and identifying any issues between the parties, and

  the parties’ respective positions, that will be raised at the status hearing scheduled for November

  30, 2021.

  I.     Case No. 1:20-cv-03010

         A.      Google’s Discovery of Plaintiffs

         A summary of Google’s First Set of Requests for Production and prior document
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  productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports, including

  their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No.

  131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF

  No. 191), September 24 (ECF No. 223), and October 26 (ECF No. 248).

         B.      Plaintiffs’ Discovery of Google

         A summary of Plaintiffs’ First through Seventh Sets of Requests for Production and the

  document productions previously made by Google are set forth in the parties’ earlier Joint Status

  Reports, including their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124),

  April 23 (ECF No. 131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No.

  165), August 27 (ECF No. 191), and September 24 (ECF No. 223) and October 26 (ECF No.

  248). Google produced additional documents on November 2, 5, 8, 11, 14, 15, 18 and 21, and

  Google produced additional data on November 5, 15, 17, 18, 19, and 22. The parties continue to

  negotiate document and data requests, as well as supplementation in connection with refresh

  requests served by Plaintiffs on September 30 and October 26.

         Plaintiffs have completed fifteen depositions of current or former Google employees. The

  parties have scheduled nine for the coming weeks, and the parties are in the process of

  scheduling three more. Plaintiffs have also completed depositions pursuant to two 30(b)(6)

  notices issued in July.

         Pursuant to the Court’s September 28 Minute Order, on November 1, Plaintiffs served

  Google with a 30(b)(6) notice with a scheduled deposition date of December 6. On November

  12, Google informed Plaintiffs that Google would not produce witnesses on December 6. The

  parties’ position statements regarding the deposition scheduling in connection with Plaintiffs’

  30(b)(6) notice are set forth in Sections III and IV.



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         The parties have also discussed bifurcation of proceedings to hold separate trials on

  liability and, if necessary, remedy. The parties’ position statements regarding bifurcation are set

  forth in Sections V and VI.

         On November 16, Plaintiffs notified Google of their intention to move the Court on

  November 23 to modify the Amended Scheduling and Case Management Order to extend the

  deadline for fact discovery (and corresponding expert discovery and summary judgment motion

  deadlines) by 90 days. On November 22, Google notified Plaintiffs that it intends to oppose the

  motion.

         C.      The Parties’ Discovery of Third-Parties

         A summary of the third-party discovery requests previously issued by the parties is set

  forth in the parties’ earlier Joint Status Reports, including their reports dated February 23 (ECF

  No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24

  (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and September 24 (ECF No.

  223) and October 26 (ECF No. 248). The parties have issued document subpoenas to

  approximately 108 third parties in total. The parties anticipate that they will continue to issue

  additional document subpoenas as discovery progresses.

         The parties have completed one third-party deposition that was noticed by both Plaintiffs

  and Google. Plaintiffs have noticed three depositions of third-parties for dates in December and

  January, and Google has issued cross-notices to those three witnesses. In addition, Google has

  noticed three depositions of other third-parties for dates in December and January, and Plaintiffs

  have cross-noticed two of them. The parties anticipate that they will continue to issue additional

  deposition subpoenas as discovery progresses.




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  II.    Case No. 1:20-cv-03715

         A.      Google’s Discovery of Plaintiff States

         A summary of Google’s First Set of Requests for Production and the document

  productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports,

  including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

  No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and

  September 24 (ECF No. 223) and October 26 (ECF No. 248).

         B.      Plaintiff States’ Discovery of Google

         A summary of Plaintiff States’ First Set of Requests for Production and the document

  productions previously made by Google are set forth in the parties’ earlier Joint Status Reports,

  including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

  No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and

  September 24 (ECF No. 223) and October 26 (ECF No. 248).

         Google has continued to produce to Plaintiff States the documents and data produced to

  the U.S. Department of Justice and its co-plaintiffs in Case No. 1:20-cv-03010 in addition to

  producing documents and data in response to Plaintiff States’ First Set of Requests for

  Production. Plaintiff States served their Second Set of Requests for Production on September 23,

  and Google served its responses and objections on October 25. On October 27, Plaintiff States

  submitted request for supplementation of documents in response to Plaintiff States First Request

  for Production. Plaintiff States and Google continue to negotiate about completion of Google’s

  production and supplementation.

         Plaintiff States served their Third Set of Requests for Production containing Plaintiff

  States’ full-fledged data requests on November 2. Google’s responses and objections are due on



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  December 2.

          A summary of the depositions of current and former Google employees and third parties

  that have been recently conducted or noticed by Plaintiffs is set forth above in Section I.B. In

  accordance with the Scheduling and Case Management Order, Plaintiff States and the plaintiffs

  in Case No. 1:20-cv-03010 are coordinating in the noticing and scheduling of all depositions. In

  addition to depositions of witnesses addressing issues common to both cases, to date, Plaintiff

  States have taken or noticed depositions of seven Google employees focused primarily on issues

  related to the Plaintiff States’ case.

          The parties have also discussed bifurcation of proceedings to hold separate trials on

  liability and, if necessary, remedy. The parties’ position statements regarding bifurcation are set

  forth in Sections V and VI.

          Pursuant to the Court’s September 28 Minute Order, on November 1, Plaintiff States and

  U.S. Plaintiffs served Google with a 30(b)(6) notice. Google’s responses and objections will be

  served on December 1.

          C.      The Parties’ Discovery of Third Parties

          The parties have issued document subpoenas to approximately 108 third parties. All third

  parties that have received a subpoena from Plaintiff States have received a cross-subpoena from

  Google. Similarly, all third parties that have received a subpoena from Google have received a

  cross-subpoena from Plaintiff States. Both parties anticipate that they will continue to issue

  additional document subpoenas as discovery progresses. A summary of the third-party

  depositions that have been recently scheduled is set forth above in Section I.C. The parties

  anticipate that they will continue to issue additional deposition subpoenas as discovery

  progresses.



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  III.   Plaintiffs’ Position Statement Regarding Scheduling of Rule 30(b)(6) Deposition

         TO AVOID FURTHER DELAY, THE COURT SHOULD ORDER GOOGLE TO
         PRODUCE ITS 30(B)(6) WITNESSES ON DECEMBER 15

         Pursuant to the Court’s September 28, 2021 Minute Order, Plaintiffs served a 30(b)(6)

  notice of deposition to Google on November 1, 2021 (“November Notice”) seeking narrowly

  tailored, non-duplicative information related to several areas of Google’s search and search

  advertising businesses. As it did with the previous 30(b)(6) notices, Google has (1) needlessly

  delayed serving responses and objections, (2) refused to meet and confer with Plaintiffs before

  serving its responses and objections, and (3) refused to make a witness available on the noticed

  date, December 6, without providing alternative dates. Google’s refusal to produce witnesses on

  the noticed date or provide a reasonable alternative date is without merit and threatens the

  discovery schedule. Therefore, Plaintiffs respectfully request that the Court order Google to

  produce its 30(b)(6) witnesses on December 15.

         Although this Court ordered the parties to respond to a notice of deposition within seven

  days of receipt to facilitate the orderly scheduling of depositions, Google waited twelve days to

  respond to Plaintiffs, only to state (1) that Google would be serving responses and objections, (2)

  that Google would not meet and confer with Plaintiffs before serving responses and objections,

  and (3) that Google would not agree to produce witnesses on the noticed date, December 6. See

  11/12/2021 Email from C. Connor to A. Cohen. Google has, however, stood silent on when it

  will produce witnesses in response to the November Notice.

         The Court should reject Google’s pattern and practice of delay which now threatens the

  30(b)(6) process ordered by this Court, as well as the overall discovery schedule. Unless Google

  is required to sit for 30(b)(6) testimony in December, such testimony is unlikely to be reviewed,


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  much less completed, before Plaintiffs are required to serve their next 30(b)(6) notice on

  January 14. Furthermore, the Court should not reward Google’s behavior at the expense of

  Plaintiffs deposition plan. If Google is allowed to defer its 30(b)(6) depositions until January

  2022 (or later) when the next notice will be served, Plaintiffs lose the purpose and efficiency of

  sequential notices. Plaintiffs should not be deprived of an orderly completion of fact discovery,

  including the efficient, sequential 30(b)(6) depositions ordered by this Court.

         For the aforementioned reasons, the Court should order Google to produce witnesses in

  response to Plaintiffs’ November Notice on December 15.

  IV.    Google’s Position Statement Regarding Scheduling of Rule 30(b)(6) Deposition

         Plaintiffs issued their latest Rule 30(b)(6) deposition notice on November 1. The notice

  contains thirteen separate topics covering a wide range of products and services. Eight of the

  notice topics contain subparts that include 34 additional sub-topics. All but one of the topics

  seeks information from 2005 to present. Google is preparing responses and objections to this

  notice and has informed Plaintiffs that it will serve them on December 1. Given the breadth of

  the notice, the other significant ongoing discovery taking place, as well as the Thanksgiving

  holidays, service of responses and objections 30 days after service of a notice that Plaintiffs

  themselves took almost a year to serve and resisted serving earlier is reasonable.

         Plaintiffs demand that, prior to service of responses and objections and prior to any meet

  and confers (and potential litigation before the Court over whether the notice is proper under

  Rule 30(b)(6)), Google either agree to the December 6 noticed date or propose an alternative date

  certain for the deposition. That is not feasible or reasonable. The scheduling of any deposition,

  to the extent one is appropriate at all, can only occur after the parties meet and confer and/or

  litigation before the Court. Google is prepared to promptly meet and confer to resolve potential

  disputes after December 1 and litigate any unresolved issues before this Court in a timely

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  fashion.

  V.         Plaintiffs’ Position Statements Regarding Proposed Bifurcation Order

             A.     U.S. Plaintiffs’ Position Statement

       THE COURT SHOULD BIFURCATE PROCEEDINGS AND HOLD SEPARATE
       TRIALS ON LIABILITY AND REMEDIES.

       The Court should order the bifurcation of the liability and remedy portions of the case, and

  should further order that the expert reports and expert discovery in the first phase should be

  limited to issues of liability.

       Given the complexity of the issues in the two actions, bifurcating the proceedings to hold

  separate trials on liability and remedy would ensure the most efficient development and

  presentation of evidence. All parties agree that bifurcation is appropriate, but disagree on the

  details.

             Federal Rule of Civil Procedure 42(b) authorizes trial courts to hold a separate trial on

  one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and

  economize.” Courts often split complex cases into separate liability and remedies proceedings.

  See, e.g., Athridge v. Aetna Cas. & Sur. Co., 604 F.3d 625, 635 (D.C. Cir. 2010) (quoting

  Vichare v. AMBAC Inc., 106 F.3d 457, 466 (2d Cir. 1996)). Separating the liability and remedies

  proceedings in this case is more convenient for all parties and the Court, resulting in a shortened

  liability trial and more focused fact discovery on only the issues to be presented during that trial.

  Because the factors are met here, U.S. Plaintiffs respectfully request that, in the U.S. action, the

  Court bifurcate proceedings and hold separate trials on liability and remedies. The Colorado

  Plaintiffs have made a similar request in their case. Google, the U.S. Plaintiffs, and the Colorado




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   Plaintiffs seem to be in agreement that bifurcation of the respective cases is appropriate and

   preferred, but have differences on exactly how to implement the separate proceedings. 1

            U.S. Plaintiffs allege that Google violated Section 2 of the Sherman Act, 15 U.S.C. § 2. If

   the Court finds Defendant liable for violating the Sherman Act, an evidentiary hearing will likely

   be necessary to determine the appropriate remedy for such violation(s), as demonstrated by

   United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001). Id. at 100-03 (holding that an

   evidentiary hearing is required in complex cases where factual disputes exist); see New York v.

   Microsoft Corp., 224 F. Supp. 2d. 76, 87-88 (D.D.C. 2002) (setting out scope of remedies

   proceedings upon remand). As set forth in the Court’s Amended Scheduling and Case

   Management Order, ECF No. 108-1, trial of the U.S. action is scheduled for September 2023.

   Because there will be no jury, there is no risk of prejudice to Google if the proceedings are

   bifurcated.

            Separate proceedings will not impact the parties’ respective burdens of proof, persuasion,

   or production to establish each and every element of liability, justifications, or defenses. Nor will

   establishing separate liability and remedies proceedings prohibit or limit fact discovery during

   the liability phase of this case on issues relevant to remedy. Nonetheless, separate proceedings on

   liability and remedy will be more efficient for all parties in this case, including third parties,

   because the scope and specifics of any remedy will depend on the scope and specific holding of

   the Court on liability. Accord Microsoft, 253 F.3d at 103-05 (vacating the district court’s remedy

   decree for the independent reason that the court of appeals revised the underlying bases of

   liability requiring the district court to reevaluate remedy based on the new scope of liability).


   1
    U.S. Plaintiffs have shared with Google several draft proposed orders on bifurcation. Following Google’s
   comments and a meet and confer between the parties, U.S. Plaintiffs understand that Google does not oppose
   bifurcation in principle, but it has not agreed with U.S. Plaintiffs’ proposed language clarifying the scope of
   discovery and evidence to be presented during the separate liability and remedies phases, as detailed below.

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   Consequently, clarifying now the scope of the September 2023 trial will allow the Parties to

   more narrowly focus their efforts prior to the close of fact discovery, and may obviate

   unnecessary proceedings.

          In particular, separating remedies from liability would greatly simplify the September

   2023 trial and avoid unnecessary burdens on the Court, third parties, and the Parties. The Court’s

   specific findings of fact and conclusions of law on liability will define the scope of available and

   appropriate remedies as well as Google’s potential defenses to any available remedies, and may

   be narrower than the scope of currently available remedies under the Complaint’s allegations.

   Without bifurcation, the Parties would need to address remedies that ultimately may be

   foreclosed by the Court’s liability holdings. Specifically, without bifurcation, the parties’ experts

   would each need to address a range of possible remedies that would correspond to all possible

   outcomes regarding liability. The parties would further need to inquire about these remedies in

   deposition, and these range of remedies would need to be presented at trial.

          Much of this effort by the parties and the Court would likely be wasted. Without

   bifurcation, following the September 2023 trial, the experts’ respective reports would likely

   require significant revisions to track the specific factual findings in the Court’s opinion; expert

   depositions would likely need to be retaken; and further remedies-related testimony would need

   to be presented so that the Court could consider U.S. Plaintiffs’ available remedies in light of

   Google’s liability. See Microsoft, 253 F.3d at 98-99 (listing proffered testimony that the

   defendant would have presented in a remedy hearing, including multiple expert opinions on the

   specific remedy); see also, e.g., McDonald's Corp. v. Robertson, 147 F.3d 1301, 1311-12 (11th

   Cir. 1998) (“Where the injunction turns on the resolution of bitterly disputed facts, . . . an

   evidentiary hearing is normally required to decide credibility issues.”); Scrivner v. Tansy, 68



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   F.3d 1234, 1242 (10th Cir. 1995) (holding that only “[i]f no facts are disputed and the issues can

   be resolved on the basis of the record and the law, no evidentiary hearing is required.”). Accord

   Microsoft, 253 F.3d at 105 (holding it necessary to vacate the remedy decree “where sweeping

   equitable relief is employed to remedy multiple violations,” some of which did not survive on

   appeal).

          By separating remedies from liability now, the Court avoids being presented with

   unhelpful testimony on unavailable remedies during the September 2023 trial, resulting in more

   efficient proceedings. Likewise, the parties will not expend unnecessary time and effort in

   discovery on expert opinions covering unavailable remedies or presenting a remedies case to the

   Court that may be stale following the Court’s liability determination. For this reason, the Court

   should reject Google’s argument that expert discovery beyond the issue of liability (i.e., on the

   issue of remedy) is necessary during the liability phase.

          To implement bifurcation of the proceedings, U.S. Plaintiffs and Colorado Plaintiffs have

   included a proposed order (Exhibit A) that:

      1. orders separate liability and remedy proceedings;

      2. recognizes that, to achieve the benefits of bifurcation, expert reports will not address

          remedy nor will experts opine or testify on remedy during the liability phase of

          proceedings;

      3. orders the parties to meet and confer after the close of fact discovery to come up with a

          proposal or proposals on the timing and scope of discovery related to remedies; and




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       4. except as noted in (2), makes clear that bifurcation does not (a) alter the burdens of any

           party or (b) limit the scope of discovery in the liability phase. 2

           Where U.S. Plaintiffs and Google disagree is on whether expert discovery on remedy will

   take place in the liability phase and whether to include a plan on how to deal with discovery on

   remedy in the future. Although Google would seek bifurcated trials, it would have the parties

   invest the time and money on expert analysis of remedies before the liability trial commences.

   Google’s proffered approach erodes the benefits of bifurcation. Specifically, to have expert

   reports address remedies in their reports or to have experts testify on remedies during the liability

   phase would unnecessarily increase the burdens on the Court, third-parties, and the parties

   themselves, without any incremental benefit. See, e.g., 9A Fed. Prac. & Proc. Civ. § 2388

   (Separate Trials—Discretion of Court) (3d ed.) (“If a single issue could be dispositive of the case

   . . . , and resolution of it might make it unnecessary to try the other issues in the litigation,

   separate trial of that issue may be desirable to save the time of the court and reduce the expenses

   of the parties.”). In our discussions regarding bifurcation, Google failed to describe any benefits

   that would arise from having experts opine on remedies before the liability trial. And as practical

   matter, the Court should make arrangements for the parties to propose after fact discovery has

   closed how to handle discovery on remedies.

           Accordingly, the Court should adopt the Plaintiffs’ proposed order, set forth at Exhibit A,

   and bifurcate proceedings, ordering that the September 2023 trial will only address issues related

   to liability and that the expert discovery on remedy will occur in the remedy phase of the


   2
     Google proposed that the parties agree to one order for both cases, and the U.S. Plaintiffs do not oppose
   that suggestion. Because the Court has consolidated the cases only for purposes of discovery pursuant to
   its Order dated January 7, 2021, Exhibit A consequently also confirms that bifurcated proceedings do not
   change that posture.


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   proceedings; if the Court finds Defendant liable for violating the Sherman Act, then the Court

   can hold separate proceedings to the extent necessary to address remedies for such violation(s).

           B.      Plaintiff States’ Position Statement

           THE COURT SHOULD BIFURCATE PROCEEDINGS AND REQUIRE THE
           PARTIES TO MEET AND CONFER ABOUT REMEDIES DISCOVERY.

           Plaintiff States agree with and incorporate by reference the U.S. Plaintiffs’ position in

   Section V.A. The Plaintiffs’ proposed order, in addition to bifurcating trials for liability and

   remedy, requires the parties to meet and confer, after the close of fact discovery, and present to

   the Court a proposal or proposals regarding the timing and scope of discovery that will

   undoubtedly be necessary for a remedies proceeding. Google objected to the inclusion of this

   additional language. However, it is efficient for the Court to establish now a process for the

   parties to develop a plan on how to proceed on discovery related to remedies. Plaintiff States

   have alleged that Google’s conduct creates continuing harm to competition and has an interest in

   stopping and remedying that conduct as soon as possible. As such, it will be appropriate for the

   parties to confer after the end of fact discovery and provide proposals to the Court on when and

   how processes that precede a remedies trial should occur.

           For the foregoing reasons, the Court should bifurcate proceedings and order that there

   will be a separate trial that will only address issues related to liability, and if the Court finds

   Defendant liable for violation the Sherman Act, then the Court can hold separate proceedings to

   the extent necessary to address remedies for such violations. Moreover, the Court should order

   the parties to meet and confer after fact discovery and present proposals to the Court about the

   timing and scope of discovery related to a remedies proceeding.

   VI.     Google’s Position Statement Regarding Proposed Bifurcation Order

           Although Google is amenable to bifurcating proceedings in the DOJ and Colorado


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   Plaintiffs’ cases to address liability issues separately, with the contours of remedy proceedings

   established only if necessary after liability issues are determined by the Court, Google objects to

   several aspects of the Proposed Order to Bifurcate offered by Plaintiffs. 3

           First, Plaintiffs’ proposed Paragraph 2 provides that “expert reports need not address

   remedies, nor will experts opine or testify on remedies during discovery or trial on liability.” Ex.

   A ¶ 2. Google submits that this paragraph goes too far in removing relevant inquiries necessary

   for evaluating alleged liability in these cases. In particular, Plaintiffs (and presumably their

   experts) must identify specific conduct that they claim has harmed competition and specify with

   particularity how that conduct should be enjoined going forward as part of their burden to

   demonstrate harm to competition. Part of the assessment of whether competition has been

   harmed necessarily requires a comparison of how a market performed with the alleged unlawful

   conduct versus how it would have performed (or would perform going forward) had that conduct

   never occurred or been enjoined, an issue tied directly to the remedy that Plaintiffs will seek in

   these cases. Although Google agrees that experts need not offer specific opinions in support of

   or against particular remedies during the liability phase of these cases, Google disagrees that

   experts can ignore completely issues that may be characterized as relating to the remedies that

   Plaintiffs will seek, as how a market would operate without the alleged unlawful conduct has a

   bearing on the liability issues to be tried to the Court.

           Second, Plaintiffs propose in Paragraph 4 to strike the language “including (but not

   confined to) discovery of the remedies that Plaintiffs intend to seek in this case,” following the

   statement that the Order does not “prohibit or limit discovery during the liability phases of these

   actions on issues relevant to remedy.” Ex. B ¶ 4. That additional language is intended to make


   3
    Google has enclosed as Exhibit B a redline reflecting the differences between Plaintiffs’ proposed order
   (Exhibit A) and Google’s proposal.

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   clear that the Proposed Order does not otherwise impact Google’s ability to seek discovery of the

   remedies that Plaintiffs intend to seek. To the extent that Plaintiffs object to any such discovery,

   they can do so in the context of particular discovery requests; however, they should not be able

   to argue that this Order bars such discovery.

          Third, Plaintiffs seek to include in a new Paragraph 3 a requirement that the parties meet

   and confer after the close of fact discovery, but before any summary judgment and trial decisions

   regarding liability, to discuss remedy proceedings and present proposals to the Court regarding

   “the timing and scope of remedies discovery.” Google submits that the purpose of bifurcation is

   to enhance efficiency in proceedings so that the parties do not waste resources regarding

   remedies issues that may be mooted by summary judgment and/or trial. Meeting and conferring

   regarding any additional discovery relevant to remedies should occur after the liability

   proceedings are concluded, not before, so that the parties have the benefit of the Court’s

   adjudication of this matter.



   Dated: November 23, 2021                        Respectfully submitted,


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                     EXHIBIT A
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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA, et al.,

                                       Plaintiffs,               Case No. 1:20-cv-03010-APM
                                                                 HON. AMIT P. MEHTA
       v.

       GOOGLE LLC,

                                       Defendant.


       STATE OF COLORADO, et al.,

                                       Plaintiffs,               Case No. 1:20-cv-03715-APM
                                                                 HON. AMIT P. MEHTA
       v.

       GOOGLE LLC,

                                       Defendant.


                       [PROPOSED] ORDER TO BIFURCATE PROCEEDINGS

            The respective Parties in the above-captioned actions have jointly requested to bifurcate

   the proceedings to hold separate trials on liability and, if necessary, remedy. (Pursuant to the

   Court’s Order of January 7, 2021, the above-captioned actions have been consolidated for

   discovery, but not trial;1 this Order does not change that posture.)

            Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to hold a separate

   trial on one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and



   1
    See Amended Scheduling and Case Management Order, ECF No. 108-1, at 5 n.2 (“Pursuant to the Court’s Order
   of January 7, 2021, the above-captioned actions have been consolidated ‘for pretrial purposes, including discovery
   and all related proceedings,’ and any motions to consolidate the Colorado Action with the DOJ Action for trial ‘may
   be renewed after close of expert discovery and resolution of any motions for summary judgment.’”).

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   economize.” The Court has considered the Parties’ joint requests for separate trials in these

   matters regarding (a) the liability of the Defendant for violations of Section 2 of the Sherman

   Act, 15 U.S.C. § 2, as alleged by U.S. Plaintiffs and Colorado Plaintiff States, and (b) the

   remedies for any such violations.

          The Court finds that, to the extent necessary, holding separate trials on the issues of

   liability and remedies in these actions will be more convenient for the Court and the Parties, and

   will expedite and economize the litigation in both actions.

          IT IS THEREFORE ORDERED

          1. There will be a liability phase in each matter that will address only the Defendant’s

              liability under the Sherman Act, and, if the Court renders a decision finding the

              Defendant liable, the Court will hold separate proceedings regarding the remedies for

              Defendant’s violation(s) of the Sherman Act.

          2. During the liability phase, expert reports need not address remedies, nor will experts

              opine or testify on remedies during discovery or trial on liability.

          3. All parties shall meet and confer after the conclusion of fact discovery and present to

              the Court a proposal or proposals regarding the timing and scope of remedies

              discovery.

          4. Except as described above in section 2, nothing in this Order shall (a) alter the

              Parties’ respective abilities in either action to offer evidence relevant to any issue in

              the liability proceedings nor alter the burden of proof, persuasion or production to

              establish each and every element of liability, justifications, or defenses, or (b) prohibit

              or limit discovery during the liability phases of these actions on issues relevant to

              remedy.



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                                                  _____________________________
    Dated:                                                  Amit. P. Mehta
                                                   United States District Court Judge




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                      EXHIBIT B
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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA, et al.,

                                       Plaintiffs,               Case No. 1:20-cv-03010-APM
                                                                 HON. AMIT P. MEHTA
       v.

       GOOGLE LLC,

                                       Defendant.


       STATE OF COLORADO, et al.,

                                       Plaintiffs,               Case No. 1:20-cv-03715-APM
                                                                 HON. AMIT P. MEHTA
       v.

       GOOGLE LLC,

                                       Defendant.


                       [PROPOSED] ORDER TO BIFURCATE PROCEEDINGS

            The respective Parties in the above-captioned actions have jointly requested to bifurcate

   the proceedings to hold separate trials on liability and, if necessary, remedy. (Pursuant to the

   Court’s Order of January 7, 2021, the above-captioned actions have been consolidated for

   discovery, but not trial;1 this Order does not change that posture.)

            Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to hold a separate

   trial on one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and



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   and all related proceedings,’ and any motions to consolidate the Colorado Action with the DOJ Action for trial ‘may
   be renewed after close of expert discovery and resolution of any motions for summary judgment.’”).

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   economize.” The Court has considered the Parties’ joint requests for separate trials in these

   matters regarding (a) the liability of the Defendant for violations of Section 2 of the Sherman

   Act, 15 U.S.C. § 2, as alleged by U.S. Plaintiffs and Colorado Plaintiff States, and (b) the

   remedies for any such violations.

          The Court finds that, to the extent necessary, holding separate trials on the issues of

   liability and remedies in these actions will be more convenient for the Court and the Parties, and

   will expedite and economize the litigation in both actions.

          IT IS THEREFORE ORDERED

          1. There will be a liability phase in each matter that will address only the Defendant’s

              liability under the Sherman Act, and, if the Court renders a decision finding the

              Defendant liable, the Court will hold separate proceedings regarding the remedies for

              Defendant’s violation(s) of the Sherman Act.

          2. During the liability phase, expert reports need not address remedies, nor will experts

              opine or testify on remedies during discovery or trial on liability.

          3. All parties shall meet and confer after the conclusion of fact discovery and present to

              the Court a proposal or proposals regarding the timing and scope of remedies

              discovery.

          4.2.NExcept as described above in section 2, nothing in this Order shall (a) alter the

              Parties’ respective abilities in either action to offer evidence relevant to any issue in

              the liability proceedings nor alter the burden of proof, persuasion or production to

              establish each and every element of liability, justifications, or defenses, or (b) prohibit

              or limit discovery during the liability phases of these actions on issues relevant to




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             remedy, including (but not confined to) discovery of the remedies that the Plaintiffs

             intend to seek in this case.



                                                          _____________________________
    Dated:                                                          Amit. P. Mehta
                                                           United States District Court Judge




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